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                       Exhibit C
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From:                Laurie Gage <lgage@vectormedia.com>
Sent:                Monday, November 2, 2020 2:54 PM
To:                  Uriel Rivkin; Laurie Gage
Subject:             Re: Ad for HART


Hello,

Thank you for writing, unfortunately we cannot assist. HART does not allow religious affiliation advertising, as well as
banning adult, alcohol, tobacco, and political ads.

Thank you again for your interest,




                         LAURIE GAGE
                         MARKET MANAGER, TAMPA, FL
                         C:(813) 361-2429
                         o: (813) 284-0822
                         ONSIP x 223

                         lgage@vectormedia.com




On Fri, Oct 30, 2020 at 6:49 AM Uriel Rivkin <urielrivkin@gmail.com> wrote:
 Dear Ms. Gage:

 On behalf of Young Israel of Tampa, I would like to submit the attached ad to run in the HART transit system in late
 November through December to advertise our annual “Chanukah on Ice” event. With a growing Orthodox community
 and the 275LX and 400 bus lines running near the ice‐skating rink, it would be great to promote our Chanukah
 celebration via the bus system. The ad is attached. Please let me know what else I can provide and what the next steps
 are.


 Thank you,


 Rabbi Uriel Rivkin
 Young Israel of Tampa
 813‐832‐3018




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